                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )   No. 3:13-00041
v.                                            )   Judge Sharp
                                              )
NESSUN ADOUNDETH                              )
                                              )




                                         ORDER

        Pending before the Court is Defendant’s Motion to Set a Change of Plea Hearing (Docket

No.54).

        The motion is GRANTED and a hearing on a change of plea in this matter is hereby

scheduled for Tuesday, November 20, 2013, at 3:00 p.m.

        IT IS SO ORDERED.



                                                  ________________________________
                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




     Case 3:13-cr-00041     Document 56      Filed 11/15/13     Page 1 of 1 PageID #: 71
